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                          UNITED ST ATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

 In Re: AUTOMOTIVE PARTS                               l 2-md-0231 1
 ANTITRUST LITIGATION                                  Honorable Sean F. Cox


In Re: Spark Plugs                                    Case No. 2: l 5-cv-03005-SFC-RSW



 THIS RELATES TO:
 State Attorneys General

 STATE OF CALIFORNIA,                                 Case No. 2:21-cv-1010 1
 ex rel. Xavier Becerra,
 Attorney General of the State of California          Complaint for Damages, Civil Penalties,
                                                      and Injunctive Relief
                Plaintiffs,                           Demand for Jury Trial
       v.

 NGK Spark Plug Co., Ltd.
 and NGK Spark Plugs (U.S.A.), Inc.


               Defendants.


       The State of California, through Xavier Becerra, the Attorney General, in his official

capacity as the chieflaw enforcement officer of the State of California files this complaint

against Defendants NGK Spark Plug Co., Ltd. and NGK Spark Plugs (U.S.A.), Inc (collectively,

Defendants or "NGK"), and alleges:


                                     NATURE OF ACTION


    1. Defendants and their co-conspirators conspired to suppress and eliminate competition by

       agreeing to rig bids for, and to fix, stabilize, and maintain the price of spark plugs,




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     standard oxygen sensors, and air fuel ratio sensors (hereinafter "Named Parts"). These

     price-fixed parts were installed in automobiles purchased by Plaintiffs.

  2. For the duration of the conspiracy, from at least as early as January 2000 until at least

     July 20 11 , Defendants' actions resulted in fixing, stabi li zing, and maintaining prices for

     the Named Parts. Due to Defendants' unlawful conduct, the State of California and its

     state agencies were deprived of open and fair competition when purchasing such parts

     and paid higher-than-competitive prices for both the parts themselves and for

     automobiles in which they were installed.

 3. Competition authorities in the United States, the European Union, and Japan have been

     investigating a number of conspiracies involving automotive parts since at least February

     2010. On August 19, 2014, the United States Department of Justice announced that

     Defendant NGK Spark Plug Co. Ltd. , agreed to plead guilty and to pay a $52.1 million

     criminal fine for its ro le in a conspiracy to fix prices and rig bids for the Named Parts

     installed in cars sold to automobile manufacturers in the United States and elsewhere.

 4. Defendants and their co-conspirators affected millions of dollars of commerce. The State

     of California, California businesses, and consumers suffered antitrust injury to their

     business or property due to Defendants' conspiracy to suppress and eliminate competition

     by agreeing to rig bids for, and to fix, stabilize, and maintain prices and artificially inflate

     prices for the Named Paiis during the duration of the conspiracy.


                               JURISDICTION AND VENUE


  5. Plaintiffs bring this action to secure damages, permanent injunctive relief, civil penalties,

     and reasonable attorneys' fees pursuant to Section 4 (15 U.S.C. § 15) and Section 16 of

     the Clayton Act (15 U.S .C. §26) for violations of Section 1 of the Sherman Act (15

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     U.S.C . §1), as well as sections 16720 and 17200 et seq. of the California Business and

     Professions Code.

  6. This Court has original jurisdiction over the subject matter of all causes of action alleged

     in this Complaint pursuant to 28 U.S .C. §§ 1331 and 1337. This Court has subject matter

     jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367 because Plaintiffs'

     state law claims are so related to the federal question claims that they form part of the

     same case or controversy that would ordinarily be tried in one judicial proceeding.

  7. Venue is proper in the United States District Court, Eastern District of Michigan,

     pursuant to Section 12 of the Clayton Act (15 U.S.C. § 22) and 28 U.S.C. § 1391.

     Defendants transact business in the United States, including in this district, committed an

     illegal act, or are found in this district, and a substantial part of the events giving rise to

     the claims arose in this district.


                                            PARTIES


                                            Plaintiffs


  8. The State of California is authorized to file Count I under 15 U.S.C. §§ 15 and 26 to

     enjoin Defendants from the violations alleged herein.

  9. The Attorney General brings this action on behalf of the Plaintiffs the State of California,

     including California state agencies, for damages, civil penalties, injunctive, and equitable

     relief.

  10. The Attorney General of California is the chief legal officer of the State of California and

     the enforcement authority of sections 16720 and 17200 et seq. of the California Business

     and Professions Code, and is authorized to file Counts II, III, and IV. As California' s



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     chief law enforcement officer, the Attorney General enforces California' s antitrust laws,

     including the Cartwright Act. Cal. Bus. & Prof. Code§§ 16700 - 16770. The Attorney

     General is specifically authorized to obtain injunctive and other equitable relief,

     restitution, and civil penalties to redress unfair, unlawful, and fraudulent business

     practices. See Cal. Bus. & Prof. Code §§ 17203, 17204, 17206.


                                          Defendants


  11 . NGK Spark Plug Co. , Ltd. is a Japanese corporation with its principal place of business

     in Nagoya, Japan. NGK Spark Plugs (U.S.A.), Inc. is a West Virginia corporation with its

     principal place of business in Wixom, Michigan. It is an indirect subsidiary of and wholly

     owned by its indirect parent, NGK Spark Plug Co., Ltd.


                                Co-Conspirators and Agents


  12. Various persons, partnerships, sole proprietors, firms, corporations and individuals not

     named as defendants in this lawsuit, and individuals, the identities of which are presently

     unknown, have participated as co-conspirators with the Defendants in the offenses

     alleged in this Complaint, and have performed acts and made statements in furtherance of

     the conspiracy or in furtherance of the anticompetitive conduct.

  13. Plaintiffs reserve the right to name some or all of the persons or entities who acted as co-

     conspirators with Defendants in the alleged offenses as Defendants.

  14. Any reference in this Complaint to any act, deed, or transaction by a corporation means

     that the corporation engaged in the act, deed, or transaction by or through its officers,

     directors, agents, employees, or representatives while they were actively engaged in the

     management, direction, control, or transaction of the corporation's business or affairs.


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 15. Defendants also are liable for acts of companies they acquired through mergers or

    acquisitions which are done in furtherance of the alleged conspiracy.

 16. Defendants named herein acted as the agent or joint venture of or for the other co-

    conspirators with respect to the acts, violations, and common course of conduct alleged

    herein.


                              FACTUAL ALLEGATIONS


 17. Defendants engaged in the business of manufacturing and selling the Named Parts to

    automobile manufacturers for installation in vehicles manufactured and sold in the United

    States and elsewhere.

 18. A spark plug is an engine component, which delivers high electric voltage from the

    ignition system to the combustion chamber of an internal combustion engine. It ignites

    the compressed fuel/air mixture with an electric spark while containing combustion

    pressure within the engine. Spark plugs have a basic manufacturing design composed

    primarily of a shell, an insulator, a center electrode, and an external (ground) electrode. In

    gasoline engines, a spark plug is a vital component that is essential for the functioning of

    a vehicle engine. Spark plugs play a key role in every vehicle that has an internal

    combustion engine. Accordingly, the demand for spark plugs is directly linked to the

    number of vehicles produced per year.

 19. Standard oxygen sensors are located before and after the catalytic converter in the

    exhaust system and measure the amount of oxygen in the exhaust. A standard oxygen

    sensor provides an input to the engine management computer or "engine control unit,"

    which adjusts the ratio of air-to-fuel injected into the engine to compensate for excess air

    or excess fuel. Standard oxygen sensors are "switching" sensors, which essentially detect

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     two states: rich or lean. The standard oxygen sensor element is a ceramic thimble plated

     inside and out with electrodes. These electrodes measure the difference in oxygen

     between the exhaust gas and the external air, and then generate an output voltage

     depending on the difference between the two measured values.

  20. Air fuel ratio sensors are located before the catalytic converter. An air fuel ratio sensor is

     paired with a special interface circuit, so it can produce an electric current corresponding

     to the actual proportion of the exhaust gas oxygen concentration enabling more precise

     control of the air-to-fuel ratio injected into the engine. This "wideband" sensor

     incorporates an electrochemical gas pump. An electronic circuit containing a feedback

     loop controls the gas pump current, so that the pump current directly indicates the oxygen

     content of the exhaust gas.

 21. The Named Parts are installed by vehicle original equipment manufacturers ("OEMs") in

     new vehicles as part of the automotive manufacturing process. For new vehicles, OEMs -

     mostly large auto manufacturers - purchase the Named Parts directly from the

      Defendants.

  22. When purchasing the Named Parts, OEMs issue Requests for Quotations ("RFQs") to

      automotive parts suppliers. These RFQs may be issued on a model-by-model basis for

      model-specific parts or for a specific engine to be incorporated into multiple models.

      Manufacturers of the Named Parts submit quotations, or bids, to automobile

      manufacturers in response to RFQs. Typically, the bidding process for a particular model

      or a particular engine begins approximately three years prior to the start of production.

  23. The Defendants supplied the Named Parts to OEMs for installation in vehicles

      manufactured and sold in the United States and elsewhere. The Defendants manufactured



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    the Named Parts (a) in the United States for installation in vehicles manufactured and

    sold in the United States, (b) in Japan and elsewhere for export to the United States and

    installation in vehicles manufactured and sold in the United States, and (c) in Japan and

    elsewhere for installation in vehicles manufactured in Japan and elsewhere for export to

    and sale in the United States.



                   Structural Characteristics of the Automotive Parts Market


 24. The structural characteristics of the automotive parts market are conducive to a price-

    fixing agreement, and have made collusion particularly attractive in this market. These

    characteristics include high barriers to entry and inelastic demand.

 25. There are substantial barriers to entry in the market for the Named Parts. It would require

    substantial initial costs associated with manufacturing plants and equipment, energy,

    transportation, distribution infrastructure, skilled labor, and long standing relationships

    with customers. These costs are considered as high barriers to entry, and preclude or

    make entry into the market for the Named Parts more difficult.

 26. Due to high barriers to entry, incumbent firms have incentive to collude and keep supra-

    competitive prices. High barriers to entry also facilitate the maintenance of collusion

    since incumbents do not face the risk of new entrants engaging in price competition.

 27. "Elasticity" is a term used in economics to describe the sensitivity of supply and demand

    to changes in the price. Demand for a certain product is "inelastic" when an increase in

    price of the product creates only a small change in the quantity demanded of that product.

     Consumers of the product whose demand is inelastic would continue to buy it despite a

     price increase.


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  28. When customers are not sensitive to a price increase, a cartel can increase price and

     maintain relatively level sales volume. Thus, it could continue to keep supra-competitive

     prices with relatively stable demand and increase profit.


                                   Government Investigations


  29. The United States Department of Justice ("Department of Justice"), as well as authorities

     in the European Union and Japan, started global , industry-wide investigations into

     possible violations of the antitrust laws in the auto parts industry in 2010. The complete

     scope of the investigations is unknown.

 30. The Department of Justice publicly announced aspects of the investigation when FBI

     agents raided the offices and factories of suspected companies. Since the raids, the

     investigation has continued to this date. So far 46 companies have been convicted and

     collective fines total more than $2.9 billion.

 31. On August 18, 2014, NGK Spark Plug Co. , Ltd. entered into a plea agreement with the

     Department of Justice, and it pleaded guilty to one count for violating Section 1 of the

     Sherman Act (15 U.S.C. §1) by conspiring to restrain trade. It also agreed to pay a $52.1

     million criminal fine.

 32. In the plea agreement, NGK Spark Plug Co. Ltd. admitted that it, through certain of its

     officers and employees, participated in a conspiracy with other entities engaged in the

     manufacture and sale of the Named Pa1is. The primary purpose of this conspiracy was to

     eliminate competition, to rig bids for, and to fix , stabilize, and maintain the prices of such

     parts sold to automobile manufacturers in the United States and elsewhere.

  33. In furtherance of the conspiracy, the Defendants also engaged in discussions and attended

     meetings with co-conspirators involved in the manufacture and sale of the Named Parts.

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    During such meetings, Defendants and co-conspirators agreed to (a) allocate the supply

    of such parts so ld to automobile manufactures; (b) rig bids quoted to automobile

    manufacturers for them; and (c) fix, stabilize, and maintain their prices.


                                     Trade and Commerce


 34 . During the period of conspiracy, Defendants and their co-conspirators sold the Named

    Parts to automobile manufacturers in the United States and elsewhere in a continuous and

    uninterrupted flow of interstate and foreign trade and commerce. In addition, equipment

    and supplies necessary to the production and distribution of such parts sold by

    Defendants and their co-conspirators, as well as payments for those sold by Defendants

    and their co-conspirators, traveled in interstate and foreign trade and commerce.

 35 . Plaintiffs purchased a substantial vo lume of automobi les and trucks. A substantial

    volume of vehicles containing the Named Parts manufactured by Defendants and their

    co-conspirators were sold to California state agencies, California businesses, and

    California consumers.

 36. The anticompetitive act was intentionally directed at the United States market for Named

    Parts because Defendants and their co-conspirators intentionally sold them to automobile

    manufacturers that in tum sell automobiles in the United States and in the State of

    California. The business activities of Defendants and their co-conspirators in connection

    with the production and sale of the Named Parts that were the subject of this conspiracy

    were within the flow of, and substantially affected , interstate and foreign trade and

    commerce.




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                        The Pass-Through of Overcharges to Consumers


   37. Defendants' and their co-conspirators' conspiracy to fix, stabilize, and maintain the

      prices of the Named Parts at artificial levels resulted in harm to Plaintiffs because it

      resulted in Plaintiffs paying hi gher prices for both the parts themselves and the

      automobi les installed with them than they would have paid in the absence of Defendants'

      and their co-conspirators' conspiracy. The entire overcharge at issue was passed onto

      California consumers.


                                     Fraudulent Concealment


  38. Throughout the period of conspiracy, Defendants and co-conspirators affirmatively and

      fraudulently concealed their unlawful conduct from Plaintiffs.

  39. Even though Plaintiffs exercised reasonable diligence, they could not discover the

      violations of law alleged in this Complaint until long after the commencement of their

      conspiracy.

  40. The Department of Justice began an investigation into conspiracies in the auto part

      industry as early as 20 I 0, but the compl ete scope of products and companies involved in

      the conspiracies has not been disclosed to the public yet.

  41. Defendants' participation in the conspiracy and their conduct in furtherance of the goals

      of the conspiracy were not publicly known until the Department of Justice announced the

      plea agreement with Defendants on August 19, 20 14.

   42. Plaintiffs could not have discovered the violations earlier than that time because

      Defendants and co-conspirators conducted their conspiracy in secret, concealed the

      nature of their unlawful conduct and acts in furtherance of the goals of the conspiracy,



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     and fraudulently concealed their activities through various means and methods designed

     to avoid detection.

  43. Defendants and their co-conspirators successfully and affirmatively concealed the nature

     of their conspiracy and unlawful conduct in furtherance of the conspiracy in at least the

     following respects:

         a. By agreeing among themselves to meet at locations where the conspiracy was less

             likely to be detected;

         b. By agreeing among themselves to engage in an illegal bid-rigging and price-

             fixing conspiracy, which is by its nature self-concealing; and

         c. By agreeing among themselves to keep the existence of the conspiracy secret,

             including the usage of secret code names.

  44. Plaintiffs had no knowledge of the alleged conspiracy or of any facts or information that

     might have led to the discovery of the conspiracy in the exercise of reasonable diligence,

     at least prior to August 19, 2014, when the Department of Justice announced the plea

     agreement with Defendants.

  45. Defendants' and their co-conspirators' effective, affirmative, and fraudulent concealment

     effectively prevented timely detection by Plaintiffs, and was a substantial factor in

     causing Plaintiffs' harm.


                                              Injury


  46. But for Defendants' and their co-conspirators' anticompetitive acts, Plaintiffs would have

      been able to purchase automobiles that incorporated price-fixed parts at lower prices or at

      prices that were determined by free and open competition.



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  47. Defendants ' and their co-conspirators' unlawful activities took place within interstate and

     foreign trade and commerce, and had direct, substantial, and reasonably foreseeable

     effect on United States and California commerce.

  48 . As a direct and proximate result of the unlawful conduct alleged in this Complaint,

     Plaintiffs were not able to purchase the Named Parts and automobiles installed with those

     price-fixed parts at prices that were determined by free and open competition.

     Consequently, Plaintiffs have been injured because they paid more than they would have

     paid in a free and open competitive market. There is a domestic injury that is concrete,

     quantifiable, and directly traceable back to the Defendants' and their co-conspirators'

     anticompetitive conduct.

  49. As Plaintiffs paid more than what they would have paid absent the conspiracy,

     Defendants' and their co-conspirators' conduct has resulted in deadweight loss to the

     economy of the State of California, including reduced output, higher prices, and

     reduction in consumer welfare.

  50. As a direct and proximate result of the unlawful conduct alleged in this Complaint,

     Defendants' and their co-conspirators benefitted unjustly from the supra-competitive and

     artificially inflated prices. The unjust financial profits on the sale of the price-fixed

     Named Parts resulted from their illegal and anticompetitive conduct.


                                 VIOLATIONS ALLEGED

                                             Count!

                         (Violation of Section 1 of the Sherman Act)




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   51. Plaintiffs incorporate by reference and allege as if fully set forth herein, each and every

      allegation set forth in the preceding paragraphs of this Complaint with the same meaning,

      force, and effect.

   52. Defendants and their co-conspirators engaged in a conspiracy which unreasonably

      restrained the trade or commerce among the several States and with foreign nations; thus,

      their conduct violates Section 1 of the Sherman Act (15 U.S.C. §1). The State of

      California is entitled to relief resulting from the Defendants' conduct.

   53 . Defendants and their co-conspirators entered into a continuing agreement, understanding,

      and conspiracy to raise, fix, maintain, and stabi lize the prices charged for the Named

      Parts during the period of conspiracy.

   54. Their unlawful conduct in furtherance of the conspiracy was intentionally directed at the

      United States market for the Named Parts and had a substantial and foreseeable effect on

      interstate commerce by raising and fixing prices of the parts in the United States.

   55. The State of California has been injured by being forced to pay artificially inflated prices

      for the Named Parts and automobi les installed with the Named Parts than they would

      have paid in the absence of the conspiracy.

   56. As a direct and proximate result of Defendants' conduct, Plaintiffs have been harmed and

      will continue to be damaged by being forced to pay supra-competitive prices that they

      would not have paid in the absence of the Defendants' conduct.

   57 . The alleged contract, combination, or conspiracy is a per se violation of the federal

      antitrust laws.




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  58. Unless permanently restrained and enjoined, Defendants will continue to unreasonably

     restrain fair and open competition for the Named Parts. Plaintiffs are entitled to an

     injunction against Defendants to prevent and restrain the violations alleged herein.


                                            Count II


     (Violation of the Cartwright Act, Business & Professions Code Section 16720)


  59. Plaintiffs incorporate by reference and allege as if fully set forth herein, each and every

     allegation set forth in the preceding paragraphs of this Complaint with the same meaning,

     force, and effect.

  60. Beginning at least as early as January 2000 until at least July 201 1, Defendants and their

     co-conspirators entered into and engaged in a continuing unlawful trust for the purpose of

     unreasonably restraining trade in violation of California Business and Professional Code

     section 16720.

  61. Defendants and their co-conspirators violated California Business and Professional Code

     section 16720 by forming a continuing unlawful trust and arranging a concerted action

     among Defendants and their co-conspirators in order to fix, raise, maintain and stabilize

     the prices of the Named Parts.

  62. In furtherance of the goals of the conspiracy, Defendants and their co-conspirators

      conspired to:

         a. fix, raise, maintain, and stabilize the prices of the Named Parts;

          b. submit rigged bids for the award of certain contracts for the Named Parts for

             automobile manufacturers; and

          c. allocate markets for the Named Parts amongst themselves.



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   63. The combination and conspiracy all eged herein has had, inter alia, the following effects:

          a. price competition in the sale of the Named Parts has been restrained, suppressed,

              and/or eliminated in the State of California;

          b. prices for the Named Parts sold by Defendants and their co-conspirators have

              been fixed, raised, maintained, and stabilized at artificially high and non-

              competitive levels in the State of California; and

          c. Plaintiffs who purchased automobiles installed with price-fixed Named Parts have

              been deprived of the benefit of free and open competition.

   64. As a direct and proximate result of Defendants' and their co-conspirators ' unlawful

      conduct, Plaintiffs were injured in their business and property because they paid more for

      the Named Parts and automobiles installed with the Named Parts than they would have

      paid in the absence of Defendants' and their co-conspirators' unlawful conduct. As a

      result of Defendants' and their co-conspirators' violation of section 16720 of the

      California Business and Professions Code, Plaintiffs bring this claim pursuant to section

       16750(c) and seek treble damages and the costs of suit, including reasonable attorneys'

      fees, pursuant to section 16750(a) of the California Business and Professions Code. The

      California Attorney General is entitled to fines and civil penalties to the maximum extent

      permitted by law under California Business and Professions Code section 16755. The

      California Attorney General may also obtain injunctive relief under California Business

      and Professions Code section 16754.5.


                                           Count III


 (Violation of the Unfair Competition Law, Business and Professions Code Section 17200)



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 65. Plaintiffs incorporate by reference and allege as if fully set forth herein, each and every

    allegation set forth in the preceding paragraphs of this Complaint with the same meaning,

    force, and effect.

 66. Beginning in at least as early as January 2000 until at least July 2011, Defendants and

    their co-conspirators committed acts of unfair competition, as defined by section 17200,

    et seq., of the California Business and Professions Code.

 67. The acts, omissions, misrepresentations, practices, and non-disclosures of Defendants and

    their co-conspirators, as alleged herein, constituted a common continuing conduct of

    unfair competition including unfair, unlawful and fraudulent business practices within the

    meaning of section 17200, et seq., of the California Business and Professions Code,

    including, but not limited to, the following :

        a. The violations of section 16720, et seq., of the California Business and

            Professions Code, set forth above, constitute unlawful acts within the meaning of

            section 17200 of the California Business and Professions Code;

        b. Defendants' acts, omissions, misrepresentations, practices, and nondisclosures, as

            described above, whether or not in violation of section 16720, et seq. , of the

            California Business and Professions Code, and whether or not concerted or

            independent acts, are otherwise unfair, unconscionable, unlawful, or fraudulent ;

        c. Defendants' acts and practices are unfair to consumers of the Named Parts and of

            automobiles installed with the Named Parts in the State of California, within the

            meaning of section 17200 of the California Business and Professions Code;

        d. Defendants' acts and practices are fraudulent or deceptive within the meaning of

            section 17200 of the California Business and Professions Code; and



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          e. Defendants' actions to solicit others to join the conspiracy to suppress and

              eliminate competition by agreeing to rig bids for, and to fix, stabilize, and

              maintain prices and/or artificiall y inflate prices for the Named Parts, whether

              successful or not, are unfair business practices within the meaning of section

              17200, et seq., of the California Business and Professions Code.

  68. The unlawful and unfair business practices of Defendants and their co-conspirators

      caused Plaintiffs to pay supra-competitive and artificially infl ated prices for the Named

      Parts and automobiles in which they were installed. Plaintiffs were injured in their

      business and property because they paid more than they would have paid in the absence

      of Defendants' and their co-conspirators' unlawful conduct.

  69. The California Attorney General is entitled to recover civil penalties for the violations

      alleged in this Complaint not to exceed $2,500 for each violation of California Business

      and Professions Code section 17206.


                                            Count IV


                                      Unjust Enrichment


  70. Plaintiffs incorporate by reference and allege as if fu lly set forth herein, each and every

      allegation set forth in the preceding paragraphs of this Complaint with the same meaning,

      force, and effect.

   71. Plaintiffs were deprived of economic benefit because Defendants' and their co-

      conspirators' anticompetitive conduct created supra-competitive and artificially inflated

      prices for the Named Parts.




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  72. Defendants and their co-conspi rators enjoyed unjust financial profits which were derived

     from unlawful overcharges and monopo ly profits. Their financial profits are

     economically traceable to overpayments for the Named Parts by Plaintiffs.

  73. The supra-competitive and artificially inflated prices for the Named Parts, and unlawful

     monopoly profits enjoyed by Defendants and their co-conspirators are a direct and

     proximate result of Defendants' and their co-conspirators' unlawful practices.

  74. It would lead to injustice if Defendants and their co-conspirators could retain any of the

     unlawful financial profits that are a direct and proximate result of their engagement in

     unlawful, unfair, and fraudulent conduct.

  75. As alleged in this Complaint, Defendants and their co-conspirators have been unjustly

     enriched as a result of their wrongful conduct and by Defendants' and their co-

     conspirators ' unfair competition. Plaintiffs are accordingly entitled to equitable relief

     including restitution and/or disgorgement of all revenues, earnings, profits, compensation

     and benefits which may have been obtained by Defendants' and their co-conspirators'

     engagement in unlawful , unfair, and fraudulent conduct.

  76. As alleged in this Complaint, Defendants and their co-conspirators have been unjustly

     enriched as a result of their unlawful and anticompetitive conduct. Under sections 17203

     and 17204 of the California Business and Professions Code, Plaintiffs are accordingly

     entitled to an injunction against Defendants in order to restrain the violations alleged

     herein and to equitable relief which includes restitution of any money or property which

     may have been acquired by means of Defendants' and their co-conspirators' unfair and

     anticompetitive conduct. Plaintiffs are also entitled to civi l penalties to the maximum




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     extent permitted by law pursuant to section 17206, et seq., of the California Business and

     Professions Code.


                                        Prayer for Relief


  77. Accordingly, Plaintiffs request that this Court:

         a. Adjudge and decree that Defendants violated the Sherman Act (15 U.S.C. § 1);

         b. Adjudge and decree that Defendants' contract, conspiracy, or combination

              constitutes an illegal and unreasonable restraint of trade in violation of the

              Cartwright Act, section 16720, et seq. , of the California Business and Professions

              Code;

         c. Adjudge and decree that Defendants' contract, conspiracy, or combination

              violates the Unfair Competition Law, section 17200, et seq., of the California

              Business and Professions Code;

         d. Award to Plaintiffs the maximum amount permitted under the relevant federal

              antitrust law;

         e. Award to Plaintiffs damages, trebled, in an amount according to proof pursuant to

              section 16750, et seq., of the California Business and Professions Code;

         f.   Award to Plaintiffs the deadweight loss (i .e. the general damage to the economy

              of the State of California) resulting from Defendants' illegal activities;

         g. Award to Plaintiffs restitution, including disgorgement of profits obtained by

              Defendants as a result of their acts of unjust enrichment, or any acts in violation

              of federal and state antitrust or consumer protection statutes and laws, including

              section 17200, et seq., of the California Business and Professions Code;



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        h. Award to Plaintiffs pre- and post-judgment interest, and that the interest be

             awarded at the highest legal rate from and after the date of service of the initial

             complaint in this action;

        1.   Award Plaintiffs the maximum civil penalties under section 17206 of the

             California Business and Professions Code for each violation of California

             Business and Professions Code section 17200 as set forth in this Complaint;

        J.   Award Plaintiffs the maximum fines and civil penalties under section 16755 of

             the California Business and Professions Code for each violation of California

             Business and Professions Code section 16720, et seq. as set forth in this

             Complaint;

        k. Enjoin and restrain, pursuant to federal and state law, Defendants, their affiliates,

             assignees, subsidiaries, successors, and transferees, and their officers, directors,

             partners, agents and employees, and all other persons acting or claiming to act on

             their behalf or in concert with them , from continuing to engage in any

             anticompetitive conduct and from adopting in the future any practice, plan,

             program, or device having a similar purpose or effect to the anticompetitive

             actions set forth above;

        I.   Award to Plaintiffs their costs, including reasonable attorneys' fees ; and

        m. Order other legal and equitable relief as it may deem just and proper, including

             such other relief as the Court may deem just and proper to redress, and prevent

             recurrence of, the alleged violation in order to dissipate the anticompetitive effects

             of Defendants' violations, and to restore competition.


                                         Jury Trial Demanded


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  78. Plaintiffs demand trial by jury for all causes of action, claims, or issues in this action

      which are triable as a matter of right to a jury.


Dated: January 14, 2021                                   XAVIER BEC ERRA
                                                          Attorney General of California



                                                          /s/ Anik Banerjee
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